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         UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLORADO
                              EASTERN DIVISION

    Charles Williams                                            )
                                                                )
            Plaintiff,                                          )
                                                                )
            v.                                                  ) Cause No. 21-cv-2595
                                                                )
    Colorado Department of Corrections                          )
                                                                )
            Defendant.                                          )
                                                                )


 PLAINTIFF’S MOTION FOR LEAVE PARTIAL OPPOSITION TO PARTIAL MOTION TO
                          DISMISS OUT OF TIME


        Plaintiff Charles Williams files this motion for leave to file his Partial Opposition to Partial

 Motion to Dismiss three days out of time as a result of a calendaring error by Plaintiff’s counsel.

 Undersigned counsel sincerely apologizes for the error and does not believe that any prejudice will result

 to any party from this very brief delay. Counsel for Defendant has no objection to this motion.



   Dated: February 17, 2023                      Respectfully submitted,



                                                 RIGHTS BEHIND BARS

                                                 By: /s/ Samuel Weiss
                                                 Samuel Weiss
                                                 Oren Nimni
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                                  CERTIFICATE OF SERVICE
          I hereby certify that on February 17, 2023, I served a copy of the Plaintiff’s Partial

   Opposition to Defendant’s Motion to Dismiss upon all parties by e-filing with the CM/ECF system.



   Date: February 17, 2023


                                               /s/ Samuel Weiss
                                               Samuel Weiss

                                               Rights Behind Bars
                                               416 Florida Avenue NW, #26152
                                               Washington, DC 20001
                                               Counsel for Charles Williams
